      Case: 1:18-cv-01190 Document #: 25 Filed: 09/25/18 Page 1 of 1 PageID #:76



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 CHARLIE BANKS,

      Plaintiff,                                  Civil Case No.: 18-cv-01190

 v.                                               Hon. Sharon Johnson Coleman

 CREDIT CONTROL, LLC,

      Defendant.


                              STIPULATION TO DISMISSAL

        After review of Defendant’s Motion for Judgment on the Pleadings and supporting facts

thereto, Plaintiff desires to dismiss the above-entitled cause of action, therefore, Plaintiff and

Defendant hereby stipulate to the dismissal of such with prejudice.

Dated: September 25, 2018

Respectfully Submitted,

 Suburban Legal Group, PC                         WATTS LAW GROUP, LLC
 Attorneys for Plaintiff                          Attorneys for Defendant
 Charlie Banks                                    Credit Control, LLC

 By:/s/                                           By:/s/ Patrick A. Watts, Esq.
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